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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

JASON CHURCH and                                    )
KATIE CHURCH,                                       )
                                                    )      Case No. 3:10-2741 CMC
       Plaintiffs,                                  )
                                                    )
       vs.                                          )
                                                    )      NOTICE OF DISMISSAL
COMMERCIAL RECOVERY                                 )
SYSTEMS, INC.,                                      )
                                                    )
       Defendant.                                   )


       Now come the Plaintiffs, JASON CHURCH and KATIE CHURCH, by and through their

attorney, and hereby advises the Court that they are dismissing the above-captioned matter with

prejudice, pursuant to a settlement agreement reached between the parties.



                                                    Respectfully submitted,

                                                    /s/ James M. Ervin
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2010, a copy of the foregoing Notice of Dismissal was

filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. Parties may access this filing through

the Court’s system.



                                                        /s/ James M. Ervin
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